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Pro Se 2 (Rev. 12/16) Complaint and Request for Injunction

 

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UNITED STATES DISTRICT COURT Receive,

for the JAN 9] 2022

District of Maryland [-] masitheonae,

TERK. US. DISTR

Y DISTRICT OF acl COURT

Division MARYLAND

DEPUTY
Jared Hester

Case No. ‘WG 2eeCvgi 65

(to be filled in by the Clerk’s Office)

 

Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
Please write “see attached” in the space and attach an additional
page with the full list of names.)

-V-

Washington & Lee University

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

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COMPLAINT AND REQUEST FOR INJUNCTION

I. The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

 

 

needed.
Name Jared Hester
Street Address 9711 0 Belvedere PI OO oe
City and County Sliver Spring, Merigomenry. ee
State and Zip Code Maryland, 20910 tS a ——
Telephone Number (202) 430-2 491 as es
E-mail Address jrdhester@gmail.com — a

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (ifknown). Attach additional pages if needed.

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Defendant No. 1

Name Washington & Lee University
Job or Title (if known)

 

 

 

 

 

Street Address 204 W Washington St

City and County Lexington, Rockbridge 7
State and Zip Code Virginia, 24450

Telephone Number (640) 458- 8400 -

 

E-mail Address (if known)

 

Defendant No. 2
Name
Job or Title (if known)
Street Address

 

City and County
State and Zip Code
Telephone Number

E-mail Address (if known)

 

Defendant No. 3
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address (if known)

Defendant No. 4
Name
Job or Title (if known)
Street Address
City and County
State and Zip Code
Telephone Number

E-mail Address (if known)

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Il.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check all that apply)
[V Federal question Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.

A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that

are at issue in this case.

Title IX (Education Amendments of 1972)

 

B. If the Basis for Jurisdiction Is Diversity of Citizenship
1. The Plaintiff(s)

a. If the plaintiff is an individual
The plaintiff, (name) Jared Hester
State of (name) Maryland

b. If the plaintiff is a corporation
The plaintiff, (name)

 

 

under the laws of the State of (name) .

and has its principal place of business in the State of (name)

, 1S a citizen of the

, 1S incorporated

(If more than one plaintiff is named in the complaint, attach an additional page providing the

same information for each additional plaintiff.)
2; The Defendant(s)

a. If the defendant is an individual

The defendant, (name)

, 1s a citizen of

the State of (name)

(foreign nation)

. Or is a citizen of

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III.

b. If the defendant is a corporation
The defendant, (name) Washington & Lee University , ls incorporated under
the laws of the State of (name) Virginia , and has its

principal place of business in the State of (name) Virginia
Or is incorporated under the laws of (foreign nation) ;

and has its principal place of business in (name)

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
stake—is more than $75,000, not counting interest and costs of court, because (explain):

In addition to financial losses, | am requesting damages for emotional harm, and punitive
damages.

Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the injunction or other relief sought. State how each defendant
was involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights,
including the dates and places of that involvement or conduct. If more than one claim is asserted, number each
claim and write a short and plain statement of each claim in a separate paragraph. Attach additional pages if
needed.

A. Where did the events giving rise to your claim(s) occur?

Washington & Lee University campus, Lexington, Virginia, and nearby.

B. What date and approximate time did the events giving rise to your claim(s) occur?

Between 2009 and 2013.

 

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IV.

C. What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
Was anyone else involved? Who else saw what happened?)

| was harassed verbally by Washington & Lee students while | was a few streets away from Washington
& Lee's campus, and | was harassed by others, who may or may not have been Washington & Lee
students, while | was on Washington & Lee's campus. In both of these instances, the men who harassed
me did so about my known and my presumed sexual orientation respective to each instance, and about
my female-gendered choice of clothing in the second instance.

Furthermore, | was harassed by a Washington & Lee student while attending a party which a
Washington & Lee fraternity hosted. The student was a member of that fraternity. He harassed me on
the basis of my sexual orientation.

Irreparable Injury

Explain why monetary damages at a later time would not adequately compensate you for the injuries you
sustained, are sustaining, or will sustain as a result of the events described above, or why such compensation

could not be measured. ; ;
Because of the harassment, | attempted to end my life, and | also withdrew from the college just three months
before graduating with a Bachelor's degree. | lost precious, irretrievable years of my 20's, and early career
opportunities, which | am only just making up for now, in my 30's, having received my Bachelor's degree after six
and half total years of study across two institutions, while incurring approximately $16,000 in debt. | watched
peers in my graduating classes excel through Master's degree programs and early professional opportunities, in
which the earned as much as $60,000.00 yearly. Meanwhile, | struggled to house, feed, and cloth myself with
various low-paying part-time jobs, and experienced homelessness and squalor while trying to complete my
Bachelor's degree at another institution, whose policies required me to spend two additional years as a student,
despite only needing four college courses to graduate. The damage of harassment has altered my personality
and tarnished my perception of the world. It has caused me anxiety, depression, financial instability, and
suicidality.

Relief

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
punitive money damages.

Financial relief to cover probable lost wages and career and educational opportunities (including one lost job
opportunity 3 years after leaving the university), emotional distress, psychological damage, damage to self-image
and self-esteem, loss of motivation, loss of interest, near-death experience, inadquate treatment after attempting
suicide, loss of identity, loss of direction, loss of financial support, experience of poverty, loss of family trust due to
leaving the university, loss of credibility for leaving the university within one semester of receiving a Bachelor's
degree, loss of friends due to leaving the university within one semester of graduating, loss of use of alumni
resources. - $100,000.00

Punitive and exemplary damages for acting recklessly by actively recruiting gay students to campus without
making efforts to change and rectify the institutions homophobic present and past, and for poor response to a
student's attempted suicide. - Maximum amount available as determined at trial.

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VI. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A. For Parties Without an Attorney
I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be

served. I understand that my failure to keep a current address on file with the Clerk’s Office may result
in the dismissal of my case.

Date of signing: 01/18/2022

 

ae

Signature of Plaintiff ok ia

 

Printed Name of Plaintiff Jared Hester

 

B. For Attorneys

Date of signing:

Signature of Attorney

 

Printed Name of Attorney

 

Bar Number

 

Name of Law Firm

 

 

 

 

Street Address 9710 Belvedere PI a
State and Zip Code Maryland, 20910

Telephone Number (202) 430-2491

E-mail Address jrdhester@gmail.com _

 

 

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